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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

Linfo IP, LLC,                                  )
       Plaintiff,                               )
                                                )       Civil Action No. 6:21-cv-01076-ADA
v.                                              )
                                                )
Lowe’s Companies, Inc.,                         )       JURY TRIAL DEMANDED
      Defendant.                                )

                            PLAINTIFF’S NOTICE OF DISMISSAL

        Pursuant to Federal Rule 41 (a)(1)(A)(i)(B), the Plaintiff, Linfo IP, LLC hereby files this

notice of dismissal of this action for all of Plaintiff’s claims. The Plaintiff agrees that the dismissal

of Plaintiff’s claims shall be WITH PREJUDICE as to the asserted patent and each party shall bear

its own costs, expenses and attorneys’ fees.

 Dated: July 25, 2022

                                                       Respectfully submitted,

                                                       /s/ William P. Ramey, III

                                                       William P. Ramey, III
                                                       Texas Bar No. 24027643
                                                       Ramey LLP
                                                       5020 Montrose Blvd., Suite 800
                                                       Houston, Texas 77006
                                                       (713) 426-3923
                                                       wramey@rameyfirm.com

                                                       Attorneys for Linfo IP, LLC
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                             CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with counsel for Defendants on July 25, 2022 and the

parties are in agreement with this dismissal.


                                                   /s/ William P. Ramey, III

                                                   William P. Ramey, III




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that July 25, 2022, the foregoing document was served

on all counsel of record who have consented to electronic service via the Court’s CM/ECF system

per Local Rule CV-5(a)(3).


                                                 /s/William P. Ramey, III
                                                 William P. Ramey, III
